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                         APPENDIX A: PRIOR STATEMENTS BY JANSSEN AND OTHER JOHNSON & JOHNSON
                            COMPANIES REGARDING FORM EMPLOYEE SECRECY AGREEMENTS

                                PART 1: Prior Statements by Janssen Supporting Defendants’ Interpretation
                                  of “COMPANY” and the Epstein, et al. Employee Secrecy Agreements

              Janssen Document
                       &
                                                         Author           Date                Definition of “COMPANY”
    Statement(s) Supporting Defendants’
       Interpretation of “COMPANY”1
Letter addressed to former Janssen/Centocor          Ken Guza,       Feb. 16, 2012   Definition of “Companies” similar to definition
employee Christopher Shanahan                        Human                           of “Company” as found in Epstein, Monsell,
                                                     Resources                       Marsh, and Ozturk agreements:
                                                     Manager,
                                                     Janssen
                                                     Pharmaceuticals




Ex. 10 at JANREM0115494.
                                                                                     Includes separate definition for “Employer.”

                                                                                     Compare Ex. 1 at JANREM0098780, -98807, -
                                                                                     98796, -98813 with Ex. 10 at
                                                                                     JANREM00115489 (Shanahan Agreement).
Letter addressed to former Janssen/Centocor          Erin            May 6, 2013     Same definition of “Company” as found in
employee James Torrence                              Bittenbender,                   Epstein, Monsell, Marsh, and Ozturk
                                                     Human                           agreements. Compare Dkts. Ex. 1 at
                                                     Resources                       JANREM0098780, -98807, -98796, -98813
                                                     Director,                       with Ex. 11 at JANREM0115483 (Torrence

1
    All emphasis added unless otherwise noted.
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            Janssen Document
                    &
                                            Author         Date             Definition of “COMPANY”
   Statement(s) Supporting Defendants’
     Interpretation of “COMPANY”1
                                         Johnson &                  Agreement).
                                         Johnson



Ex. 11 at JANREM0115487.




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             PART 2: Prior Statements by Other J&J Family Companies Supporting Defendants’ Interpretation
                          of “COMPANY” and the Epstein, et al. Employee Secrecy Agreements

     J&J Family Company Document(s)
                      &                            Author                Date
                                                                                              Definition of “COMPANY”
    Statement(s) Supporting Defendants’
      Interpretation of “COMPANY”
Verified Complaint in Johnson & Johnson,        Riker, Danzig,   May 21,            Similar definition of “Company” as found in
DePuy Orthopaedics, and DePuy Prods., Inc.      Scherer, Hyland  2007               Epstein, Monsell, Marsh, and Ozturk agreements:
v. Biomet, Inc. and Robin T. Barney, No. C-     & Perretti LLP
107-7 (N.J. Sup. Ct.)                           and Barnes &                           “the COMPANY means DePuy and
                                                Thornburg LLP,                         JOHNSON & JOHNSON and any of their
    “Money damages would not adequately         Counsel for                            successors or assigns, purchasers, acquirers
    compensate plaintiffs for the losses and    Johnson &                              and any of their existing and future
    injuries they would suffer, leaving         Johnson, DePuy                         subsidiaries, divisions or affiliates, including
    plaintiffs with no adequate remedy at law. Orthopaedics, and                       any such subsidiary, division or affiliate of
    For example, if Biomet knew of Barney’s DePuy Prods.,                              Johnson & Johnson to which I may be
    knowledge about plaintiffs’ plans in the    Inc.                                   transferred or by which I may be employed in
    areas of manufacturing techniques,                                                 the future. Affiliates of the COMPANY are
    research and development, product                                                  any corporation, entity or organization more
    development, marketing plans or                                                    than 50% owned by the COMPANY, by
    financial, pricing and cost information, it                                        Johnson & Johnson or any subsidiary of
    would give Biomet a significant and                                                Johnson & Johnson.”
    unfair competitive advantage over
    plaintiffs.”                                                                    Compare Ex. 1 at JANREM0098780, -98807, -
                                                                                    98796, -98813 with Ex. 15 at JANREM0113066.
Ex. 15 at JANREM0113056–57.

Verified Complaint in Ethicon, Inc. and       Murphy &                Complaint -   Similar definition of “Company” as found in
DePuy Orthopaedics, Inc. v. Laura Angelini,   Anderson, P.A.          Sept. 6       Epstein, Monsell, Marsh, and Ozturk agreements:
No. 16-cv-01124-BJD-PDB (M.D. Fla.)           and Blank Rome          2016
                                              LLP, Counsel for                         “COMPANY means individually and/or
   “Importantly, the term ‘COMPANY’ in        Ethicon, Inc. and       Declaration      collectively DePuy Orthopaedics, Inc.,


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    J&J Family Company Document(s)
                       &                            Author             Date
                                                                                           Definition of “COMPANY”
   Statement(s) Supporting Defendants’
      Interpretation of “COMPANY”
   turn, is defined as ‘individually and/or    DePuy               - Sept. 16,      Johnson & Johnson, and all other entities
   collectively DePuy Orthopaedics, Inc.,      Orthopaedics,       2016             within the Johnson & Johnson Family of
   Johnson & Johnson, and all other entities   Inc.                                 Companies, and their respective successors
   within the Johnson & Johnson Family of                                           and assigns. An entity is within the Johnson &
   Companies, and their respective                                                  Johnson Family of Companies if it is at least
   successors and assigns. An entity is within                                      50 percent owned by Johnson & Johnson,
   the Johnson & Johnson Family of                                                  either directly or indirectly.”
   Companies if it is at least 50 percent
   owned by Johnson & Johnson, either                                            Includes separate definition for “Employer.”
   directly or indirectly.’ Id. Ethicon falls
   under the definition of COMPANY,                                              Compare Ex. 1 at JANREM0098780, -98807, -
   because it is a wholly-owned subsidiary of                                    98796, -98813 with Ex. 13 at JANREM0112416
   J&J.”                                                                         (Angelini Agreement).

Ex. 13 at JANREM0112404.

Plaintiffs’ Motion for Temporary Restraining
Order and Preliminary Injunction and
Incorporated Memorandum of Law in Ethicon,
Inc. and DePuy Orthopaedics, Inc. v. Laura
Angelini, No. 16-cv-01124-BJD-PDB (M.D.
Fla.)

   “Laura Angelini is a top executive who
   worked for the J&J Companies for over
   twenty-five years and who, unless
   enjoined, intends to take a position as
   Worldwide President of the Biosurgery
   business of a direct competitor, Baxter, on

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    J&J Family Company Document(s)
                      &                            Author               Date
                                                                                             Definition of “COMPANY”
   Statement(s) Supporting Defendants’
      Interpretation of “COMPANY”
   September 12, 2016 in violation of the
   plain terms of her Agreement with the
   J&J Companies.”

Ex. 29 at JANREM0112439.

Declaration of Thiago Licias de Oliveira,
Head of Human Resources for DePuy
Synthes, re Plaintiffs’ Reply In Support of
Their Amended Motion For Temporary
Restraining Order and Preliminary Injunction
in Ethicon, Inc. and DePuy Orthopaedics, Inc.
v. Laura Angelini, No. 16-cv-01124-BJD-PDB
(M.D. Fla.)

   “I explained to Angelini that the Non-
   Compete does not apply to specific
   competitors, but relates to the confidential
   information she has access to and if such
   access could be used against J&J
   companies if she went to a competitor.”

Ex. 30 at JANREM0112911.

Verified Complaint in Johnson & Johnson and Riker, Danzig,           July 3, 2006   Similar definition of “Company” as found in
Cordis Corp. v. Stentys, Inc. and Jin S. Park, Scherer, Hyland                      Epstein, Monsell, Marsh, and Ozturk agreements:
No. 141-08 (N.J. Sup. Ct.)                     & Perretti LLP,
                                               Counsel for                             “the COMPANY means CORDIS
   “Overall, Park was involved with 7 patents Johnson &                                CORPORATION and JOHNSON &

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    J&J Family Company Document(s)
                       &                             Author                  Date
                                                                                                  Definition of “COMPANY”
   Statement(s) Supporting Defendants’
      Interpretation of “COMPANY”
   while at Cordis. Significantly, Park is also Johnson and                                JOHNSON and any of their successors or
   listed as an inventor on two pending patent Cordis Corp.                                assigns, purchasers, acquirers and any of their
   applications regarding a new stent for the                                              existing and future subsidiaries, divisions or
   treatment of coronary and peripheral                                                    affiliates, including any such subsidiary,
   blockages located in bifurcated vessels and                                             division or affiliate of Johnson & Johnson to
   arteries: (1) US 2005/0288771 A1 and (2)                                                which I may be transferred or by which I may
   US 2005/031524 A1. …                                                                    be employed in the future. Affiliates of the
                                                                                           COMPANY are any corporation, entity or
   Pursuant to Paragraph 1 of the Agreement,                                               organization more than 50% owned by the
   plaintiffs own all inventions, patentable                                               COMPANY, by Johnson & Johnson or any
   or not, developed by Park while at                                                      subsidiary of Johnson & Johnson.”
   plaintiffs.”
                                                                                        Compare Ex. 1 at JANREM0098780, -98807, -
Ex. 9 at JANREM0113321.                                                                 98796, -98813 with Ex. 9 at JANREM0113333
                                                                                        (Park Agreement).

Verified Complaint in Johnson & Johnson and         Riker, Danzig,        Complaint -   Similar definition of “Company” as found in
Cordis Corp. v. EV3, Inc., Rhonda Barr,             Scherer, Hyland       Dec. 10,      Epstein, Monsell, Marsh, and Ozturk agreements:
Andrew Fitzpatrick and Brendan McKeever,            & Perretti LLP,       2009
No. 09-06306-GEB (N.J. Sup. Ct.)                    Counsel for                            “the COMPANY means CORDIS
                                                    Johnson &             Motion -         CORPORATION, and JOHNSON &
   “To prevent immediate and irreparable            Johnson and           Dec. 11,         JOHNSON, and any of their successors or
   harm, plaintiffs seek injunctive relief to       Cordis Corp.          2009             assigns, purchasers, acquirers, and any of their
   stop the flagrant pirating of plaintiffs’ top-                                          existing and future subsidiaries, divisions or
   performing Sales Representatives by ev3                                                 affiliates, including any such subsidiary,
   and to enforce the Individual Defendants’                                               division or affiliate of Johnson & Johnson to
   covenants not to compete, covenants not to                                              which I may be transferred or by which I may
   solicit plaintiffs’ customers and common                                                be employed in the future. Affiliates of the
   law duties owed to plaintiffs, including the                                            COMPANY are any corporation, entity or

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    J&J Family Company Document(s)
                        &                         Author       Date
                                                                                 Definition of “COMPANY”
   Statement(s) Supporting Defendants’
      Interpretation of “COMPANY”
   duty of loyalty. In addition to injunctive                             organization at least 50% owned by the
   relief, plaintiffs seek an award of damages                            COMPANY, by Johnson & Johnson or by any
   that they have sustained or will sustain.”                             subsidiary of Johnson & Johnson.”

Ex. 7 at JANREM0112988.                                                Compare Ex. 1 at JANREM0098780, -98807, -
                                                                       98796, -98813 with Ex. 7 at JANREM0113022
Brief In Support of Plaintiffs’ Application for                        (Barr Agreement).
Temporary Restraining Order and Accelerated
Discovery in Johnson & Johnson and Cordis                                 “the COMPANY means CORDIS
Corp. v. EV3, Inc., Rhonda Barr, Andrew                                   CORPORATION, and JOHNSON &
Fitzpatrick and Brendan McKeever, No. 09-                                 JOHNSON, and any of their successors or
06306-GEB (N.J. Sup. Ct.)                                                 assigns, purchasers, acquirers, and any of their
                                                                          existing and future subsidiaries, divisions or
   “The Individual Defendants entered into                                affiliates, including any such subsidiary,
   valid, enforceable Employee Secrecy,                                   division or affiliate of Johnson & Johnson to
   Non-Competition and Non-Solicitation                                   which I may be transferred or by which I may
   Agreements (“Agreement”) with                                          be employed in the future. Affiliates of the
   plaintiffs, which contained non-disclosure,                            COMPANY are any corporation, entity or
   non-compete and non-solicitation                                       organization at least 50% owned by the
   covenants.                                                             COMPANY, by Johnson & Johnson or by any
                                                                          subsidiary of Johnson & Johnson.”
   During their tenure at Cordis, the
   Individual Defendants had access to and                             Compare Ex. 1 at JANREM0098780, -98807, -
   acquired intimate knowledge plaintiffs’                             98796, -98813 with Ex. 7 at JANREM0113036
   customer relationships and confidential,                            (McKeever Agreement).
   proprietary and trade secret information,
   including pricing, marketing and research
   and development efforts and strategies.”



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    J&J Family Company Document(s)
                     &                              Author            Date
                                                                                       Definition of “COMPANY”
   Statement(s) Supporting Defendants’
      Interpretation of “COMPANY”
Ex. 8 at 1.

   “First, the Agreement’s post-employment
   restrictions are reasonable, and are
   narrowly drafted to protect J&J’s and
   Cordis’ legitimate interests in their
   customer relationships and confidential,
   proprietary and trade secret information.”

Ex. 8 at 12.

Verified Complaint in DePuy Spine, Inc. and     Nutter,           April 5,   Similar definition of “Company” as found in
Johnson & Johnson Regenerative                  McClennen &       2007       Epstein, Monsell, Marsh, and Ozturk agreements:
Therapeutics, LLC v. Stryker Biotech LLC and    Fish LLP,
G. Joseph Ross, No. 07-1464-GLSI (Mass.         Counsel for                  “the COMPANY means DePuy Spine, and
Sup. Ct.)                                       DePuy Spine, Inc.            JOHNSON & JOHNSON and any of their
                                                and Johnson &                successors or assigns, purchasers, acquirers and
   “The Agreement is enforceable by DePuy       Johnson                      any of their existing and future subsidiaries,
   Spine and JJRT.”                             Regenerative                 divisions or affiliates, including any such
                                                Therapeutics                 subsidiary, division or affiliate of Johnson &
Ex. 5 at JANREM0113344.                         (JJRT)                       Johnson to which I may be transferred or by
                                                                             which I may be employed in the future. Affiliates
   “At the time that Stryker Biotech hired                                   of the COMPANY are any corporation, entity or
   Ross, it knew Ross was subject to a non-                                  organization more than 50% owned by the
   competition and non-solicitation                                          COMPANY, by Johnson & Johnson or any
   agreement. Stryker Biotech reviewed the                                   subsidiary of Johnson & Johnson.”
   Agreement in advance of offering to hire
   Ross. Stryker Biotech’s hiring of Ross was                                Compare Ex. 1 at JANREM0098780, -98807, -
   in knowing violation of Ross’s Agreement                                  98796, -98813 with Ex. 5 at JANREM0113354

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    J&J Family Company Document(s)
                    &                             Author       Date
                                                                                Definition of “COMPANY”
   Statement(s) Supporting Defendants’
     Interpretation of “COMPANY”
   with JJRT and DePuy Spine.”                                         (Ross Agreement).

Ex. 5 at JANREM0113345.

Plaintiffs’ Motion for Preliminary Injunction,
or Alternatively, for Temporary Restraining
Order in DePuy Spine, Inc. and Johnson &
Johnson Regenerative Therapeutics, LLC v.
Stryker Biotech LLC and G. Joseph Ross, No.
07-1464-GLSI (Mass. Sup. Ct.)

    “As a former employee of DePuy Spine,
    Ross is subject to non-competition and
    non-solicitation covenants with DePuy
    Spine and JJRT, which prohibit him from
    taking employment in a position where he
    can utilize confidential information of the
    Companies to ‘enhance the use or
    marketability’ of products which
    ‘resemble or compete’ with a product of
    DePuy Spine or JJRT. Ross’s Agreement
    with the Companies also prohibits Ross
    from assisting other companies in the
    solicitation of customers with whom Ross
    has had contact in the twelve months prior
    to terminating his employment with
    DePuy Spine.”

Ex. 4 at 2.

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    J&J Family Company Document(s)
                    &                                     Author           Date
                                                                                           Definition of “COMPANY”
   Statement(s) Supporting Defendants’
     Interpretation of “COMPANY”

Memorandum In Support of Plaintiffs’ Motion
for Preliminary Injunction, or Alternatively,
for Temporary Restraining Order in DePuy
Spine, Inc. and Johnson & Johnson
Regenerative Therapeutics, LLC v. Stryker
Biotech LLC and G. Joseph Ross, No. 07-
1464-GLSI (Mass. Sup. Ct.)

    “The term ‘Company’ is defined to include
    not only DePuy Spine but also
    ‘JOHNSON & JOHNSON and any of their
    successors or assigns, purchasers,
    acquirers, and any of their existing and
    future subsidiaries, divisions or affiliates.’
    Agreement, § 1.”

Ex. 4 at 7.

First Amended Verified Complaint in                  Nutter,                      Similar definition of “Company” as found in
LifeScan, Inc., Diabetes Diagnostics, Inc., and      McClennen &                  Epstein, Monsell, Marsh, and Ozturk agreements.
Inverness Med. Ltd. v. Daniel F. O’Connell           Fish LLP,
and Agamatrix, Inc., No. 2004-02043-C                Counsel for
(Mass. Sup. Ct.)                                     LifeScan, Inc.,
                                                     Diabetes
                                                     Diagnostics, Inc.,
                                                     and Inverness
                                                     Med. Ltd.


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    J&J Family Company Document(s)
                    &                                Author                Date
                                                                                            Definition of “COMPANY”
   Statement(s) Supporting Defendants’
     Interpretation of “COMPANY”




                                                                                   Compare Ex. 1 at JANREM0098780, -98807, -
                                                                                   98796, -98813 with Ex. 6 at JANREM0115585
                                                                                   (O’Connell Agreement).




Ex. 6 at JANREM0115564.




Ex. 6 at JANREM0115569.

Complaint in Johnson & Johnson, DePuy, Inc.      Riker, Danzig,         Oct. 27,   Similar definition of “Company” as found in
and DePuy Spine, Inc. v. Steven F. McAllister,   Scherer, Hyland        2007       Epstein, Monsell, Marsh, and Ozturk agreements.
Biomet, Inc., EBI Holdings, Inc. and EBI, LP,    & Perretti LLP,
No. MID-C-227-07 (N.J. Sup. Ct.)                 Counsel for                          “the COMPANY means DePuy AcroMed,
                                                 Johnson &                            and JOHNSON & JOHNSON and any of their
   “McAllister’s intended and actual             Johnson, DePuy,                      successors or assigns, purchasers, acquirers

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    J&J Family Company Document(s)
                      &                             Author          Date
                                                                                     Definition of “COMPANY”
   Statement(s) Supporting Defendants’
      Interpretation of “COMPANY”
   employment with Biomet Spine and           Inc. and DePuy                  and any of their existing and future
   Trauma will and do constitute a breach of  Spine, Inc.                     subsidiaries, divisions or affiliates, including
   the Agreement because McAllister would                                     any such subsidiary, division or affiliate of
   be employed by a Conflicting                                               Johnson & Johnson to which I may be
   Organization, as defined in the Agreement,                                 transferred or by which I may be employed in
   within 18 months after termination of his                                  the future. Affiliates of the COMPANY are
   employment with plaintiffs. McAllister’s                                   any corporation, entity or organization more
   intended employment with Biomet Spine                                      than 50% owned by the COMPANY, by
   and Trauma also will inevitably induce                                     Johnson & Johnson or any subsidiary of
   and require McAllister to breach his                                       Johnson & Johnson.”
   agreement with plaintiffs because he
   would be joining an organization that is                                Compare Ex. 1 at JANREM0098780, -98807, -
   engaged in direct competition with                                      98796, -98813 with Ex. 31 at JANREM0113308
   plaintiffs and McAllister’s employment                                  (McAllister Agreement).
   with Biomet Spine and Trauma would
   make it inevitable that he would disclose
   Confidential Information that he learned
   while employed by plaintiffs.”

Ex. 31 at JANREM0113299.




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